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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          SOUTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

 UNITED STATES OF AMERICA                           )
                                                    )
 vs.                                                ) CRIMINAL CASE NO. 05-00267-CG
                                                    )
 LUCKIE KWAME STEVENS,                              )
                                                    )
         Defendant.                                 )

                                               ORDER

         This matter is before the court on the Defendant’s Unopposed Motion to Continue Trial

 due to unavailability of essential witnesses for trial on July 21, 2008 (Doc. 454).

         Upon due consideration, the court finds that pursuant to 18 U.S.C. § 3161(h)(3)(A)(B),

 the ends of justice outweigh the best interest of the defendant and the public in a speedy trial,

 and hereby GRANTS the motion to continue trial setting. Therefore, the trial of this matter is

 hereby CONTINUED to the August 2008 term with jury selection to be held on July 28, 2008.

         The clerk is directed to refer this matter to the magistrate judge to reschedule a pretrial

 conference for July 2008.

         The Marshal is ORDERED to proceed with production of the previously writted prisoner

 witnesses for this case, and NOT return them to their place(s) of confinement until the trial is

 over.

         DONE and ORDERED this the 11th day of July, 2008.


                                                /s/ Callie V. S. Granade
                                                CHIEF UNITED STATES DISTRICT JUDGE
